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                     7
                     8                                UNITED STATES DISTRICT COURT
                     9                    EASTERN DISTRICT OF CALIFORNIA, FRESNO DIVISION
                   10
                   11      ROGER McINTOSH,                                 Case No. 1:07-CV- 01080 LJO-GSA
                   12                            Plaintiff,
                   13      v.                                              PLAINTIFF’S OPPOSITION TO
                                                                           DENNIS W. DeWALT, INC.'S MOTION
                   14      NORTHERN CALIFORNIA UNIVERSAL                   TO ALTER OR AMEND THE
                           ENTERPRISES COMPANY, a California               JUDGMENT
                   15      corporation; LOTUS DEVELOPMENTS,
                           LLP; THE CITY OF WASCO, a municipal
                   16      corporation; DEWALT CM, INC., a California
                           corporation also doing business as DEWALT
                   17      CORPORATION; and DOES 1 through 10,
                           inclusive
                   18
                                                 Defendants.
                   19
                   20
                           CITY OF WASCO,
                   21
                                          Cross-Complaint,
                   22
                                  vs.
                   23
                           NORTHERN CALIFORNIA UNIVERSAL
                   24      ENTERPRISES COMPANY, INC.,
                   25                     Cross-Defendant.
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                   27     ///
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                     1                                                      I.
                     2                           REVIEW OF PERTINENT TRIAL TESTIMONY
                                                 AND WASCO'S MOTION IN LIMINE NO. 2
                     3
                     4                   It was plaintiff's argument at trial that the value and copying the 5472 Tentative Map
                     5    was inherently tied up in the value of the efforts expended in creating it. This is keeping in mind
                     6    with the holding in Del Madera Properties v. Rose and Gardner that efforts expended in creating
                     7    the Tentative Map his efforts expended in creating tangible works of authorship. (See, Del Madera
                     8    Properties v. Rhodes and Gardner, Inc., 820 F.2d 973, 976-977 (9th Cir. 1987) ("Del Madera II"))
                     9    It is also where the court in the prior Del Madera case Said that the new developer had two choices:
                   10     It could either submits its own modifications to the development project or pay the plaintiff the value
                   11     of his copyright. (Del Madera Properties v. Rhodes and Gardner, Inc., 637 F.Supp 262, 264 (N.D.
                   12     Ca. 1985) ("Del Madera I")) The value of the work is intimately connected to the work supporting
                   13     it.
                   14                    A developer reaps a windfall if they can copy what has come before and retain the
                   15     benefit of all the documents that support that copy. When McIntosh’s tentative map was copied by
                   16     DeWalt and Northern, the developer did not have to modify the development project, saving him the
                   17     great cost of modifying the development. At trial, it was shown the improvements were worth $1.9
                   18     million from the bonding estimate. (Exh. J-73, page 2 attached to Travis Decl.) Paying for a bond,
                   19     and modifying the subdivision were both costs the developer avoided by having the map copied.
                   20     (488:11-18; 489:8-16; 490:21-491:1-4)1. This is also why it was important for Wasco to promote the
                   21     subdivision with a copy of the Tentative Map because if the developer knew they already had
                   22     approval for a Tentative and Final Map and did not have to put improvements in and could fast-track
                   23     the mapping process. (J10, pages 5, 10,11 Appendix C, BP02422)
                   24                    The arguments put forth by Dennis W. De Walt, Inc. ("DeWalt") is based on the
                   25
                   26            1
                                   Reporters’ Transcript, Exhibit 43 of Travis Declaration. To make finding the referenced
                   27     exhibits easier, we have 1) Provided a single declaration for both oppositions, and 2) provided the
                          Court with a chart attached to the Travis Declaration identifying each trial exhibit and its
                   28     corresponding paragraph referenced in the declaration.
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                     1    premise that the order granting the City of Wasco’s ("Wasco") Motion in Limine No. 2 limited any
                     2    testimony by plaintiff for preparing Tract Map No. 5472. Yet, at trial the evidence was clear that the
                     3    work that was related to Tract 5472 was not just work that had to be done on the tract proper but was
                     4    also work that needed to be done to prepare Tract 5472. For example, evidence at trial established:
                     5                   •       Martin-McIntosh needed it to perform master studies, planning and other
                     6                           engineering work in order to prepare Tract 5472. (163:11-22; 189:4-15.)
                     7                   •       The Martin-McIntosh Improvement Plans were needed to support the
                     8                           5472 Map. (164:18-23.)
                     9                   •       The Martin-McIntosh Improvement Plans were needed to support the
                   10                            6451 Map prepared by DeWalt. (J134, based on "Associative Improvement
                   11                            Plans", 484:6-18.)
                   12                    •       All construction on the 6451 Tract needed to be detailed in Martin-
                   13                            McIntosh’s Improvement Plans. (178:7-16.)
                   14                    •       The entire cost to finally prepare Tract 5472 was $1,149,910.28. (170:13-25;
                   15                            171:1-13, Exhibit J4) (Exhibit J4 is a final tally of all engineering performed
                   16                            and contracted for in Exhibits J1, J32, J41, J44, J46-J50 and J53-60 but
                   17                            which are not attached)
                   18                    •       The entire work performed on the entire 480 acres needed to be designed first
                   19                            in order to prepare Tract 5472. (190-19-25, 191:1-23.)
                   20                    •       Both of DeWalt’s 6451Maps were based on the Improvement Plans so as to
                   21                            obtain final approval by the City of Wasco. (J134; J135; and Testimony of
                   22                            Keith Woodcock, 483:22-484.)
                   23                     All of this testimony was completely unrefuted by any of the defendants. It was also
                   24     a jury issue as to whether the jury believed whether Joe Wu, the Principal of Northern and Lotus,
                   25     chose not to use McIntosh’s work because of the amount requested by McIntosh or whether he just
                   26     chose to steal McIntosh’s work product and retain the benefit of what had come before. (244:7-19.)
                   27     In fact, Mr. Wu testified he did not care what McIntosh wanted, all he wanted was to have a
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                     1    Tentative Map prepared. (565:1-12) This was so, even though Joe Wu in preparing his own
                     2    architectural plans on designs admitted that this was his own work product and was not anybody
                     3    else’s to take. (578:13-22.)
                     4                                                       II.
                     5                                           LEGAL ARGUMENT
                     6    A.      The Jury Award Was Not Excessive and Was Supported by the Evidence Plaintiff
                                  Presented at Trial and There Was No Evidence to Rebut the Award. (Opp. to
                     7            Part I.A.)
                     8                    DeWalt argues that the jury verdict was excessive because plaintiff's total original
                     9    charges were approximately $1.1 million and he was paid for most of these original charges. In sum,
                   10     they are claiming that any established value of the copyrighted work is offset by any amounts
                   11     previously paid for that work. Essentially, DeWalt is arguing that the amount was excessive because
                   12     there was double recovery.
                   13                     As cited supra, efforts expended in creating the Tentative Map are also efforts
                   14     expended in creating tangible works of authorship. (See, Del Madera II.) Therefore, and as also
                   15     stated in Part I of this Opposition, the value of the Tentative Map is not in simply recreating the map
                   16     itself, but in what supports that map so that the developer can get final approval by the City. Part
                   17     of this process is that there is a time limit to getting approval of any tentative map. (732:17-25; 73:1-
                   18     7; J-87, p. 7 (A01054).) Thus, the value of the map is encompassed in what that document and its
                   19     supporting documents that map but also in the allowance by the City to by statute proceed with the
                   20     proposed development for a fixed period of time. As the City’s employee, Dennis McNamara said,
                   21     once that map has expired "it is no longer a valid document. . . . " (733:5-6.) Once a map has
                   22     expired, then a city could require zoning and a new general plan.
                   23                     This is what happened and what was undisputed at trial in this case. The previous
                   24     Tentative Map prepared by Martin-McIntosh had expired as did the development agreement between
                   25     the original developer (Legacy Group and Martin-McIntosh; (See, Doc. No. 320, JI No. 17, Fact
                   26     Nos. 18-19.) In sum, and before Legacy Group was unable to complete development, over a million
                   27     dollars was spent in preparing the engineering necessary for completing the Valley Rose Estates.
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                     1    (Exh. "J4.")You could not have the 5472 Tract without also preparing the general plan, master
                     2    studies and other engineering which included the Improvement Plans.
                     3                   Finally, it was also undisputed at trial that in the agreement between Martin-
                     4    McIntosh and the Legacy Group on March 19, 1992, the engineering was for the 5472 project
                     5    specifically and any default by Legacy would mean that all intellectual property would revert back
                     6    to Martin-McIntosh. (See, Exh. J-24, p.1.)
                     7                   If McIntosh was paid, he was paid for by the rights by Legacy to retain the rights to
                     8    the engineering for the time specified in the development agreement between it and the City of
                     9    Wasco and also pursuant to Legacy’s agreement with Martin-McIntosh. After the expiration, no one
                   10     had rights to any of that work other than McIntosh.
                   11                    The value of the 5472 Tentative Map was determined at trial in view of what benefits
                   12     the 6451 Map was retained by the developer, and for engineering it did not have to pay for in order
                   13     to get a final approval of the 6451 Map. This amounted to the total value of the prior engineering
                   14     for preparing the 5472 Tract which was approximately $1.1 million. Unrefuted testimony, based on
                   15     the present value of McIntosh’s services being double that of the hourly rate by Martin-McIntosh in
                   16     1992, and then subtracting the amount paid roughly $800,000 to reach the total final value of
                   17     $1.4 million. (601:2-11; and Exh. J4.) It was also unrefuted that plaintiff was paid roughly
                   18     $800,000 for his work from 1992 through 1994. Thus, there was no double recovery because what
                   19     was paid was discounted in the final calculations presented by plaintiff.
                   20                    DeWalt also contends that "plaintiff failed to introduce any evidence as to what
                   21     amount of the $1,100,000.00 was his actual cost of the work . . . and what portion was profit to
                   22     plaintiff." Yet, separating plaintiff’s original profit from costs was not required under Jury
                   23     Instruction No. 42 for Actual Damages. (See, Doc. No. 320, No. 42.) Artificially separating these two
                   24     is a straw man argument created by DeWalt in an attempt to mitigate the damages award against
                   25     them and they provide no law in support. This novel analysis also makes no sense since value is
                   26     usually set based on how much it cost to create a product or service and then adding profit on top
                   27     of that. But, there are times when you have to sell a product at or even below your costs, that doesn’t
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                     1    mean there’s no value to it, it just means that value doesn’t meet or exceed costs.
                     2                    Even if this were the case, DeWalt points to no evidence that would allow this court
                     3    to somehow perform calculations to separate out plaintiff’s original profit from original losses.
                     4    These were also questions unasked by DeWalt during trial. It is not plaintiff’s burden to do
                     5    DeWalt’s job for them sifting through all the evidence to determine what the cost of labor, overhead,
                     6    general administration and office expenses, and synthesize what portion of what was paid was profit
                     7    as to proposed costs, this was their burden at trial and on the motion which have not been met.
                     8                    In sum, there was no double recovery because all original payments were deducted.
                     9    in plaintiff’s calculations There is also no requirement in the instructions to the jury or under the law
                   10     that original profits needed to be deducted from original charges to get to value. .
                   11     B.      Actual Damages Were Based on the Value of the Map That Included All Efforts
                                  Expended in Creating and Supporting Tentative Map No. 5472. (Opp. to Part II. A.)
                   12
                   13                     DeWalt argues that there is no evidence of the fair market value of the copyrighted
                   14     work which included a reduction in the fair market value, any inquiries of sale, any marketability,
                   15     any industry practices and no value to DeWalt.
                   16                     In response, plaintiff would refer this court to Part I above demonstrating that the
                   17     value of the work is in the efforts expended in creating that work which included all the engineering
                   18     that was necessary in order to support the map. This was what was argued and presented at trial
                   19     through the testimony and the evidence and which was never refuted by any of the defendants.
                   20     Therefore, the value is not in the act of physically reproducing the 5472 Map through an infringing
                   21     copy but that, by copying it, you retain all of the efforts expended in the documents that supported
                   22     it. For example, in looking at Tentative Tract Map 6451, this specifically states that it is based upon
                   23     the Improvement Plans prepared by Martin-McIntosh. (See, J134.) This is further demonstrated in
                   24     the fact that Final Map No. 6451 was required to be substantially similar or substantially conformed
                   25     to the 6451 Tentative Map in order to meet approval and ultimately acceptance by the City of Wasco.
                   26     (See Final Map No. 6451, first page, J-126.)
                   27                     DeWalt had to do so little because McIntosh had to do so much.
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                     1                   It was also a question of fact at trial whether or not Joe Wu, as the principal for both
                     2    Northern and Lotus, was a willing buyer. The evidence suggested that he was not a willing buyer
                     3    and simply wanted to get a similar map that would get "fast-track" acceptance by the City of Wasco
                     4    as quickly and cheaply as possible. (565:1-12; J10, pp. 10-11.) At trial, it was demonstrated that
                     5    Joe Wu, after initially calling McIntosh and receiving a proposal by McIntosh, never called him back
                     6    to determine what a reasonable value of McIntosh’s work might be. (176:19-25; 177:1-13; 563:2-
                     7    564:1.) It was demonstrated at trial that McIntosh was willing to negotiate, Joe Wu was not. In fact,
                     8    at trial, McIntosh testified that he was "willing to offer a proposal to Wu but he never got a call back
                     9    from him." (176:19-25; 176:1-13.)
                   10                    DeWalt also contends that there was no evidence of reduction in fair market value,
                   11     inquiries of sale, marketability, industry practices and no evidence of what the value was to DeWalt.
                   12     However, none of this evidence was presented by them at trial. This was not plaintiff’s burden.
                   13     DeWalt could have designated an expert on these issues or examined plaintiff’s expert on these
                   14     issues but, for their own reasons, chose not to do so. Furthermore, they want this court to speculate
                   15     as to what these might be to offset any damages that were awarded by the jury. They cannot now
                   16     try to have the court retry this case in a vacuum based upon speculative offsets that they never
                   17     presented.
                   18     C.     Plaintiff Presented Ample Evidence at Trial to Show That Engineering for Tract 5472
                                 Including Engineering That Related to Engineering Work for Parcel 9571 and Were
                   19            Necessary Costs to Prepare Tentative Tract Map 5472. (Opp. to Part II.B.)
                   20                    DeWalt is contending that embedded in the approximately $1.1 million in charges
                   21     shown on Exhibit "J4," there were charges that were unrelated to Tentative Tract Map No. 5472 and
                   22     it should have discounted by the jury but were not. They are now asking this court to review the trial
                   23     testimony and evidence to make those discounts that they claim the jury overlooked.
                   24                    All defendants have consistently refused to acknowledge or present any evidence
                   25     refuting the fact that to prepare Tract 5472, Martin-McIntosh had to prepare master studies, general
                   26     planning, improvement plans and other engineering for the entire parcel. (See, Part I, supra; 163:11-
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                     1    22; and 189:4-15.)2 Without that required engineering, the 6451 Map would have been worthless
                     2    as would the 5472 Map. They would have just been a concept with nothing supporting them.
                     3    Drawing the map was easy but making it acceptable for approval by the City was the costly and
                     4    difficult part and which allowed Northern to fast-track through Wasco’s planning department.
                     5                    Further support for plaintiff’s argument at trial was demonstrated by the fact that
                     6    Improvement Plans were needed to support the 5472 Map; (J-134; 164:18-23.) All construction
                     7    needed to be detailed in the 5472 Improvement Plans; (178:7-16) and the total cost to prepare the
                     8    Tract 5472 was $1,149,910.28 (170:13-25; 171:1-13; See,. J-4 and Exhibit "J" attached to Okadigbo
                     9    Declaration in support of Wasco’s Motion).
                   10                     DeWalt presented no evidence at trial or in their motion that refutes the above
                   11     proposition. They try to do it for the first time in their motion by referring to Exhibits "J-100" and
                   12     "D-224" and asking this Court to now draw an inference of offsets, but this is insufficient to meeting
                   13     their burden on this motion. It is unclear what parts of those exhibits they believe support their
                   14     argument. DeWalt also refers to trial testimony where they claim that things such as performing
                   15     work for the Valley Rose Golf Course was unrelated to the 5472 Tract. (See, 189:4-18.) But, this
                   16     testimony does not say this. In fact, the testimony referred to never even references the Valley Rose
                   17     Golf Course.
                   18                     DeWalt makes attorney arguments that much of the work "seems" analogous to
                   19     unrelated work (referring to Trial Testimony 303:10-304:3, and Exhibit P-108), but this was never
                   20     presented, proven or submitted at trial. There is simply no trial testimony, other than what was
                   21     testified by McIntosh, as to what was and what was not related or necessary for preparing Tract 5472
                   22     and which supported the 5472 Map. DeWalt now wants this court to again infer a lack of a
                   23     relationship between the engineering done by McIntosh and infringement when it was their burden
                   24     at trial and in their motion to show how plaintiff’s testimony was inaccurate in the work unrelated
                   25     to Tract 5472. They failed to do this and it would require additional trial testimony to support the
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                   27            2
                                 This was also supported by many other documents such as P-108 and P-102-P-105 but
                   28     would be too numerous too attach.
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                     1    inferences they want this Court to make.
                     2    D.      McIntosh Is Entitled to Recover the Value of the Work Which Included All Costs
                                  Related to in Supporting That Work. (Opp. to Part II.C.1-2.)
                     3
                     4                    In this section, DeWalt is claiming that McIntosh is claiming recovery for costs
                     5    expended when he should only be able to recover profits that he made. DeWalt presents no law to
                     6    support this proposition nor does DeWalt present any evidence showing what those costs would be
                     7    relative to what any profits would be. This is also not part of the jury instruction for actual damages
                     8    which is Jury Instruction No. 42 that was submitted to the jury in this case. (See, previous discussion
                     9    on this point in Part II.A, supra.)
                   10     E.      The Clear Weight of the Evidence Showed That DeWalt Did Not Independently Create
                                  the 6451 Map but There Was Evidence of Both Direct and Indirect Infringement
                   11             Against DeWalt from Which the Jury Could Not Conclude Otherwise. (Opp. to Part
                                  III.)
                   12
                   13                     Plaintiff and defendants are like two ships passing in a night. At trial, the bulk of
                   14     plaintiff ‘s testimony and plaintiff’s witnesses’ testimony, including expert witnesses, was that there
                   15     was direct evidence of copying by DeWalt as to the 6451 Map. Independent creation is a defense
                   16     to indirect evidence of infringement, not direct evidence.
                   17                     The direct evidence was unrefuted and overwhelming. This included: the fact that
                   18     there were identical bearings on the 6451 and 5472, to the second; (J-133; J-135, p. 2; J-134; P-108,
                   19     p. 426;182:7-25, 183:1-10, 186:4-19, and 443:9-445) there was identical lot numbering between the
                   20     5472 Map Improvement Plans and the 6451 Maps; (J-133; J-135, p. 2; J-134; P-108; p. 436,
                   21     and184:18-25, 185:1-13); there were identical map boundaries; J-133; J-135, p. 2; J-134; P-108,
                   22     p. 436; and 185:14-22); there was identical lot numbering; (J-133; J-135, p. 2; J-134; P-108, p. 436;
                   23     and 438:18-22, 442:2-12; there were identical street names (438:18-22); there were identical places
                   24     where each of the street names were located; (180:21-25 and 181:1-11); there were identical
                   25     mistakes between maps (J-133; J-135, p. 2; J-134; P-108, p. 436; and 167:16-25, 168:1-6, 169:25-
                   26     170:12); and that there were even identical street curves to the second (J-133; J-135, p. 2; J-134; P-
                   27     108, p. 436; 207:24-25, 208:1-11, and 210:1-23).
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                     1                   All of the above evidence was direct evidence of infringement and inapplicable to the
                     2    independent creation defense. None of this evidence was cited by DeWalt in its moving papers. In
                     3    fact, it is not cited by any of the defendants in their moving papers and was completely ignored.
                     4    What was also ignored was the fact that Dewalt admitted that they used the 5472 Map in preparing
                     5    the 6451 Map. (425:21-426, 427:17-428:16, and 434:11-17.)
                     6                   Instead, DeWalt is relying on the fact that they performed a survey with its related
                     7    shot points to demonstrate the fact that they independently created a map with all of the above
                     8    identical configurations. But DeWalt never presents any witnesses or evidence or any testimony to
                     9    show how all of the identical bearings, distances, lot configurations, mistakes, street curves and the
                   10     like got onto the 6451 Map independently. There was not one shred of evidence or testimony from
                   11     which any of this was explained. Rather, DeWalt relies on red herrings such as the fact they did not
                   12     earn any profits and did not copy the Improvement Plan to suggest the weight of the evidence was
                   13     against the verdict.
                   14                    In a truly puzzling statement, DeWalt also claims the jury and plaintiff admitted that
                   15     DeWalt independently created the allegedly infringing work. (See Motion, p. 15, ln. 23.)DeWalt
                   16     argues that because the jury found that DeWalt did not copy the Improvement Plans, and because
                   17     the improvement plans were part of the P-108 Exhibit that was submitted as a deposit to the
                   18     copyright office, and because Tentative Map No. 5472 was included in the P-108 Exhibit, therefore
                   19     there could be no infringement of the 5472 Map because, as DeWalt understands it, P-108 was, in
                   20     its entirety, the Improvement Plans. Therefore, in their mind the verdict was inconsistent.
                   21                    This argument rests on the fallacious assumption that P-108 included only the 5472
                   22     Improvement Plans. Where this came from is unclear but it was clearly identified at trial that P-108
                   23     was the deposit to the copyright office and which contained more than just the Improvement Plans.
                   24     In fact, it was conceded at trial that they also contained Parcel Map 9572 and Tract Map 5618 in
                   25     addition to Tentative Map No. 5472 all of which were identified as distinct from Improvement Plans.
                   26     (See, e.g., 189:4-6, 190:1-9.) DeWalt’s argument relies on a false assumption and should be
                   27     completely disregarded.
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                     1    F.      At Trial There Was Sufficient Evidence of Direct Infringement That Any Misstatement
                                  of Law in Rebuttal Argument Was Not an Error of Law Sufficient to Warrant a New
                     2            Trial. (Opp. to Part IV.A.)
                     3                    A district court may alter or amend a judgment under Rule 59(e) if the court is
                     4    presented with newly discovered evidence, there was clear error or manifest injustice or, there is an
                     5    intervening change in controlling law. (Zimmerman v. City of Oakland, 255 F.3d 734, 740 (Ninth
                     6    Cir. 2001).) The decision to alter or amend a judgment is generally committed to the discretion of
                     7    the trial judge. (See, Marber ex rel Barber v. Colorado Department of Revenue, 562 F.3d 1222,
                     8    1228 (Tenth Cir. 2009).) The District Court is called upon to balance the competing interests of the
                     9    need to bring the litigation to a close and the need to render rulings based on all the facts.
                   10     (Templet v. HydroChem, Inc. 367 F.3d 473, 478-479 (Fifth Cir. 2004).)
                   11                     DeWalt is not presenting the court with newly discovered evidence and there is no
                   12     citation to any change in controlling law so, it is assumed that the clear error refers to one allegedly
                   13     made by the Court during trial.
                   14                     The essential argument by DeWalt is that the jury was swayed by Jury Instruction No.
                   15     33 that was not read but given and, by a statement made by plaintiff’s counsel in rebuttal that would
                   16     indicate that simply copying what was on the ground constituted infringement. To DeWalt, this
                   17     information communicated to the jury was a large enough error of law that this was enough to give
                   18     "credence" in support" to the legal proposition "that by copying what was on the ground DeWalt
                   19     committed copyright infringement" and negating independent creation. (See, Motion, IV.A.)
                   20                     Yet, DeWalt fails to mention the evidence referred to in Part II.E. of this Opposition
                   21     whereby there was direct evidence that DeWalt directly copied information from the Tentative Map
                   22     onto the infringing map. Furthermore, Jury Instruction No. 33 was never read to the jury and was
                   23     only told to the jury that if they wanted jury instructions they would be given to them.3 Again,
                   24     DeWalt completely ignores all of the other evidence that was stacked so high against them that even
                   25     if this court allowed a statement in closing argument to misstate the law, any misstatement in rebuttal
                   26
                   27            3
                                 From the record, it is difficult to tell whether or not instructions were even given to the jury.
                   28     We will assume that they were.
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                     1    was not sufficient to alter or amend or declare a new trial because of it.
                     2                   This court also, through spontaneous instructions just after the jury was impaneled
                     3    and before deliberations, told the jury that attorney argument is not evidence. (133:2-14 and
                     4    1006:10-1007:1) After the alleged misstatement, the Court specifically told the jury that they were
                     5    to look at the jury instructions to determine the law, and not attorney argument. (1103:13-21) The
                     6    jury could have also been equally swayed by Instruction 27 which Wasco conceded in its motion
                     7    makes No. 33 "unsustainable as a matter of law." (See, Wasco’s Motion to Alter/Amend, p. 24, Lines
                     8    9-10) Further, all defendant’s equally presented argument contradicting statements made by
                     9    plaintiff’s counsel. (Northern, 1037:22-24, 1038:1-12; Wasco, 1065:16-1067:23; DeWalt, 1092,
                   10     1093:9-20, and 1094:12.)
                   11                    Finally, DeWalt makes no request as to what they want this court to do if it finds that
                   12     there was a clear error. This court could easily conclude that if it had a new trial that because of the
                   13     overwhelming evidence of direct and indirect infringement, the jury instruction or the lack thereof
                   14     would have made no difference whatsoever. If DeWalt is asking the court to alter or amend the
                   15     verdict, it provides no guidance as to how this court is supposed to do that. It also provides no
                   16     proposal to which the plaintiff can rebut in this Opposition. The request on its face is vague and
                   17     ambiguous and gives no direction and on this separate basis should also be denied.
                   18     G.     DeWalt’s Proposed Special Jury Instructions Were Properly Rejected by the Court
                                 with No Objections by DeWalt.
                   19
                   20                    Special jury instructions should normally be reasonably neutral statements of the law
                   21     and not overly argumentative. (See, Federal Civil Rules Handbook, 2010, Rule 51, "Form and
                   22     Content of Requests.")
                   23                    DeWalt focuses on four of its special jury instructions that were rejected by this Court
                   24     in arguing that the verdict was based upon an error of law. In essence, DeWalt is arguing that if the
                   25     jury had seen these instructions, then they could have come to a wholly different conclusion.
                   26                    The instructions themselves are argumentative and are mixed questions of law and
                   27     fact that would unfairly lead the jury to a conclusion in favor of DeWalt. Furthermore, DeWalt has
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                     1    not demonstrated that any of the issues of law that are in each of the jury instructions were somehow
                     2    missing in any of the other jury instructions that were submitted to the jury. As examples:
                     3                   Special Jury Instruction No. 1: The issue of law was that facts in the public domain
                     4    have no copyright protection. Yet, this rule, without the argumentative facts, was already included
                     5    in Jury Instruction No. 36; and
                     6                   Special Jury Instruction No. 4, which DeWalt titles "substantial similarity." There
                     7    was, of course, an instruction already given for substantial similarity. (See, SI Nos. 32 and 34.)
                     8    However, substantial similarity requires two elements of access and similarity which were not
                     9    elements contained in DeWalt’s Special Jury Instruction No. 4 and therefore is an inaccurate
                   10     statement of the law. Also, the Ninth Circuit’s Special Jury Instruction for Copyright specifically
                   11     excludes any special jury instructions for substantial similarity because of the fact intensive basis
                   12     upon which that instruction has to be assumed. Therefore, any instruction would essentially be doing
                   13     the job of the jury within the instruction rather than allowing them to draw their own conclusions
                   14     about the facts that were presented. For the same reason, Special Jury Instruction No. 5 was also
                   15     properly excluded. Neither one of these is as DeWalt claims an "accurate statement of the law"
                   16     because the law cannot establish a conclusion that could only be made by the fact finder. In sum,
                   17     all of their instructions were argumentative and properly excluded.
                   18                    For the above reasons, any request to alter or amend based upon the rejection of
                   19     DeWalt’s proposed special jury instructions should be denied.
                   20     H.     There Was No Prejudicial Misconduct by Plaintiff’s Counsel That Permeated the
                                 Entire Trial Sufficient for this Court to Alter or Amend the Trial Verdict. (Opp. to
                   21            Part V.A.)
                   22                    A moving party is only entitled to a new trial when the opposing counsel’s conduct
                   23     causes prejudice to that party and unfairly influences a verdict. (Tesser v. Board of Education of City
                   24     School District of City of New York, 370 F.3d 314, 321 (Second Cir. 2004.) The party seeking a new
                   25     trial "must make a concrete showing that the misconduct of counsel consistently permeated the entire
                   26     trial from beginning to end." (Sutikiecz v. Monroe County Sheriff, 110 F.3d 352, 361 (Sixth Cir.
                   27     1997).) When determining the prejudicial effect of attorney misconduct, the court should look to
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                     1    the totality of the circumstances and weigh factors such as what was said, how often, relevancy to
                     2    the issues before the jury, how those comments were treated by the parties in the court, the strength
                     3    of the case and even the verdict itself. (Hemmings v. Tidyman’s, Inc., 285 F.3d 1174, 1193 (Ninth
                     4    Cir. 2002).) In Tesser, the court concluded:
                     5                            "In light of the relevant lack of severity of the apparent
                                          misconduct, the District Court’s curative instructions and the court’s
                     6                    willingness to adopt remedial measures . . . we conclude that the court
                                          did not abuse its discretion by determining the defendant’s lawyer
                     7                    statements, did not unfairly influence the jury, deliberations and
                                          verdict . . . and that a new trial is therefore not warranted on that
                     8                    basis. (350 F.3d at 322.)
                     9                    Even more so, and where the court instructs the jury that the arguments and
                   10     statements by attorneys are not evidence, there is a presumption that the jury follow that instruction.
                   11     This serves as a factor militating against fighting the necessary extent of attorney misconduct
                   12     justifying a reversal. (Jones v. Williams, 35 F.App.X. 424, 428, (2002).)
                   13                     DeWalt is insisting that there was prejudicial misconduct by plaintiff’s counsel as to
                   14     the issue of independent versus "dependent" creation put forth by plaintiff’s counsel. They raise this
                   15     issue in Part V.B through D.
                   16                     Defendant points to one "misstatement" by plaintiff’s counsel in plaintiff’s rebuttal
                   17     argument and also to the fact that Jury Instruction No. 33 was not read but included in the jury
                   18     instructions. (See, Motion, Part IV.A.B.) What is absent from the moving papers is the fact that this
                   19     court through spontaneous instructions just after the jury was impaneled and before deliberations told
                   20     the jury that attorney evidence is not argument. (133:2-14 and 1006:10-1007:1, see also, supra,
                   21     discussion at II.F.)
                   22                     Most importantly, DeWalt acts as if there was no evidence of copying from which
                   23     the jury could find infringement other than a simple translation from what was on the ground to the
                   24     infringing map. This included direct evidence of copying as detailed in Part II.E, supra.
                   25                     DeWalt also contends that there was misstatement by plaintiff’s counsel as to
                   26     misleading of actual damages and what that should equal. (See, Motion, Part V.A.) DeWalt argues
                   27     that plaintiff’s counsel misstated the law but they never argued why those calculations were
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                     1    incorrect. There is no law, no case, no facts to indicate that they should have been calculated any
                     2    other way than what they were at trial. This is similar to the argument that DeWalt makes in Part II
                     3    of their motion and which was opposed above in that if there was any additional calculations that
                     4    needed to be performed to reflect an accurate value of the copyrighted work including any additional
                     5    offsets, then this is what DeWalt should have presented at trial. They did not do so. DeWalt like
                     6    all of the defendants had an opportunity to bring in their own expert to rebut any of plaintiff’s
                     7    calculations. DeWalt also had the opportunity to even use plaintiff’s expert, Merati, and ask
                     8    questions relating to whether certain offsets should have been included. However, they objected to
                     9    Merati testifying on this issue and therefore this was unavailable to them. The problem is that
                   10     DeWalt is now trying to bring in through attorney argument additional expert testimony when the
                   11     trial is already over.
                   12                     DeWalt wants this court to recalculate plaintiff’s expert numbers in a post trial motion
                   13     without the input of Merati or any other rebuttal testimony and after the jury has left the building.
                   14     I.      There Is No Inconsistency in the Jury Verdict and DeWalt Creates the False
                                  Assumption That the Copyright Deposit Only Included the Improvement Plans (Opp.
                   15             to Part VI).
                   16                     Identical to their argument in Part III of their Motion, and opposed supra, at II.E.
                   17     DeWalt attempts to shoehorn an argument here where there is none. They again rest on the false
                   18     assumption that the copyright deposit included only the improvement plans. This was never
                   19     represented at trial in the testimony or evidence. All parties clearly represented the 5472 Tentative
                   20     Map and improvement plans as distinct. This was even reflected in the jury instructions verdict.
                   21                                                       III.
                   22                                               CONCLUSION
                   23                     For all of the above reasons, plaintiff requests this court deny the entire motion to
                   24     alter or amend and also deny any request for a new trial. The evidence at trial was clear and
                   25     convincing of direct and indirect copyright infringement against DeWalt. The evidence of actual
                   26     damages was also un-refuted and all DeWalt is now attempting to do is re-litigate this matter through
                   27     attorney argument in a post trial motion. What they should have argued or could have presented or
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                     1    could have submitted is any offsets or any other way to calculate damages is too late. Therefore, we
                     2    ask the court deny the motion in its entirety.
                     3    DATED: July 2, 2010
                     4                                           Respectfully submitted,
                     5                                           BORTON PETRINI, LLP
                     6
                     7                                           By:      /s/ James J. Braze /s/ Jeffrey A. Travis
                                                                       James J. Braze, Jeffrey A. Travis, Attorney for Plaintiff,
                     8                                                 Roger McIntosh
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                     1                                         PROOF OF SERVICE
                                                               (FRCP No. 5(b)(2)(E))
                     2
                                         STATE OF CALIFORNIA, COUNTY OF KERN
                     3                   I, Vanessa J. Claridge, declare:
                     4                   I am a citizen of the United States. I am employed in the County of Kern, State of
                                 California. I am over the age of 18 and not a party to the within action; my business address
                     5           is 5060 California Avenue, Suite 700, Bakersfield, California 93309.
                                         On July 2, 2010, I served the foregoing document described as PLAINTIFF’S
                     6           OPPOSITION TO DENNIS W. DeWALT, INC.'S MOTION TO ALTER OR AMEND
                                 THE JUDGMENT on the other party(ies) in this action as follows:
                     7
                          Steven John Hassing, Esq.                             Attorneys for Attorneys for Defendants,
                     8    Law Offices of Steven J. Hassing                      Northern California Universal Enterprises
                          425 Calabria Court                                    Company and Lotus Developments
                     9    Roseville, CA 95747                                   Tel: 916/677-1776
                          email address: stevehassing@yahoo.com                 Fax: 916/677-1770
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                   13
                          Ann T. Schwing, Esq.                                 Attorneys for Def./Appellant, City of Wasco
                   14     McDonough Holland & Allen PC
                          500 Capitol Mall, 18th Floor                         Tel: 916/444-3900
                   15     Sacramento, CA 95814-4704                            Fax: 916/444-8334
                          email address:
                   16
                          William L. Alexander, Esq.                          Attorneys for Defendant, DeWalt CM, Inc.
                   17     Alexander & Associates
                          1925 "G" Street                                     Tel: 661/316-7888
                   18     Bakersfield, CA 93301                               Fax: 661/316-7890
                          email address: walexander@alexander-law.com
                   19     X      BY ELECTRONIC SERVICE: Pursuant to Fed. R. Civ. P. 5(b)(2)(E) and Local Court
                                 Rule(s), the foregoing document will be served by the court via CM/ECF. Pursuant to the
                   20            CM/ECF docket for this case proceeding the following person(s) are on the Electronic Mail
                                 Notice List to receive ECF transmission at the email address(es) indicated below:
                   21
                          X      BY MAIL: As follows: I am "readily familiar" with the firm's practice of collection and
                   22            processing correspondence for mailing. Under that practice it would be deposited with U.S.
                                 postal service on that same day with postage thereon fully prepaid at , California in the
                   23            ordinary course of business. I am aware that on motion of the party served, service is
                                 presumed invalid if postal cancellation date or postage meter date is more than one day after
                   24            date of deposit for mailing in affidavit.

                   25                    Executed on July 2, 2010, at Bakersfield, California.

                   26                  I declare that I am employed in the office of a member of the bar of this court at
                                 whose direction the service was made.
                   27                  Vanessa J. Claridge                          /s/ Vanessa J. Claridge

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